                                          Case 2:17-cv-05075-AB-JPR Document 104 Filed 11/06/18 Page 1 of 5 Page ID #:4172



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                                            13 GIGANEWS, INC. and LIVEWIRE SERVICES, INC.
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                                                                     UNITED STATES DISTRICT COURT
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                                                                    CENTRAL DISTRICT OF CALIFORNIA
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                                               GIGANEWS, INC., a Texas corporation;       Case No.: 2:17-cv-05075-AB (JPR)
                                            18 and LIVEWIRE SERVICES, INC., a
                                               Nevada corporation,                        PLAINTIFFS’ REQUEST FOR
                                            19                                            JUDICIAL NOTICE
                                                               Plaintiffs,
                                            20                                            Date:     December 14, 2018
                                                     v.                                   Time:     10:00 a.m.
                                            21                                            Dept:     7B
                                               PERFECT 10, INC., a California             Judge:    Hon. André Birotte
                                            22 corporation; NORMAN ZADA, an
                                               individual; and DOES 1-50, inclusive,
                                            23
                                                               Defendants.
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                                                 PLAINTIFFS’ REQUEST FOR                       CASE NO. 2:17-CV-05075-AB (JPR)
                                                 JUDICIAL NOTICE
                                          Case 2:17-cv-05075-AB-JPR Document 104 Filed 11/06/18 Page 2 of 5 Page ID #:4173



                                             1         Pursuant to Rule 201(b) and Rule 201(c)(2) of the Federal Rules of Evidence,
                                             2 Plaintiffs Giganews, Inc. and Livewire Services, Inc. (“Plaintiffs”) respectfully
                                             3 request that the Court take judicial notice of certain documents in the public record.
                                             4 Plaintiffs make this request in connection with their Opposition to Defendant
                                             5 Perfect 10, Inc. and Norman Zada’s Motion for Summary Judgment, or in the
                                             6 Alternative, Partial Summary Judgment (Dkts. 67–78).
                                             7         Federal Rule of Civil Procedure 201 allows courts to take judicial notice of
                                             8 “adjudicative facts” (e.g. court records, pleadings, etc.) and other facts not subject
                                             9 to reasonable dispute that are either “generally known” in the community, or “can
                                            10 be accurately and readily determined from sources whose accuracy cannot be
                                            11 reasonably questioned.” Fed. R. Civ. P. 201(a), (b). The Court may also take
                                            12 judicial notice of its own records in other cases. See United States v. Wilson, 631
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                                            13 F.2d 118, 119 (9th Cir. 1980). The orders and pleadings listed below were filed in
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                                            14 the United States District Court for the Central District of California. The fact that
                                            15 the documents were filed, the dates they were filed, and the Court orders they
                                            16 contain (where applicable) are undisputable matters of public record.
                                            17         True and correct copies of the documents for which Plaintiffs request judicial
                                            18 notice are attached.
                                            19         Exhibit 1: Perfect 10, Inc. v. Radvinsky et al., No. 2:13-cv-07279-SVW-E,
                                            20 Dkt. 1, Complaint (C.D. Cal. Oct. 2, 2013).
                                            21         Exhibit 2: Perfect 10, Inc. v. Radvinsky et al., No. 2:13-cv-07279-SVW-E,
                                            22 Dkt. 12, Answer (C.D. Cal. Nov. 22, 2013).
                                            23         Exhibit 3: Docket sheet from Perfect 10, Inc. v. Radvinsky et al., No. 2:13-
                                            24 cv-07279-SVW-E (C.D. Cal. Nov. 22, 2013), as of Nov. 5, 2018.
                                            25         Exhibit 4: Perfect 10, Inc. v. Ocom B.V. et al., No. 2:14-cv-00808-JFW-
                                            26 VBK, Dkt. 1, Complaint (C.D. Cal. Feb. 3, 2014).
                                            27         Exhibit 5: Perfect 10, Inc. v. Ocom B.V. et al., No. 2:14-cv-00808-JFW-
                                            28 VBK, Dkt. 35, Answer to First Amended Complaint (C.D. Cal. May 5, 2014).
                                                 PLAINTIFFS’ REQUEST FOR                   1         CASE NO. 2:17-CV-05075-AB (JPR)
                                                 JUDICIAL NOTICE
                                          Case 2:17-cv-05075-AB-JPR Document 104 Filed 11/06/18 Page 3 of 5 Page ID #:4174



                                             1         Exhibit 6: The docket sheet from Perfect 10, Inc. v. Ocom B.V. et al., No.
                                             2 2:14-cv-00808-JFW-VBK (C.D. Cal. Feb. 3, 2014), as of Nov. 5, 2018.
                                             3         Exhibit 7: Perfect 10, Inc. v. OVH Groupe et al., No. 2:14-cv-05969-AB-
                                             4 SH, Dkt. 1, Complaint (C.D. Cal. July 30, 2014).
                                             5         Exhibit 8: Docket sheet from Perfect 10, Inc. v. OVH Groupe et al., No.
                                             6 2:14-cv-05969-AB-SH (C.D. Cal. July 30, 2014), as of Nov. 5, 2018.
                                             7         The following orders were filed in the related case Perfect 10, Inc. v.
                                             8 Giganews, Inc., C.D. Cal. No. 2:11-cv-07098-ABC-SH:
                                             9         Exhibit 9: March 8, 2013 Order granting in part and denying in part
                                            10 Giganews and Livewire’s Motion to Dismiss, Dkt. 97.
                                            11         Exhibit 10: July 10, 2013 Order granting in part and denying in part
                                            12 Giganews and Livewire’s Motion to Dismiss, Dkt. 129.
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                                            13         Exhibit 11: January 29, 2014 Order denying Perfect 10’s Motion for
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                                            14 Summary Judgment, Dkt. 180.
                                            15         Exhibit 12: March 17, 2014 Order granting Giganews’ Motion to Compel
                                            16 Production of Documents, Dkt. 223.
                                            17         Exhibit 13: April 24, 2014 Order granting in substantial part Giganews and
                                            18 Livewire’s Motion to Compel Responses to Interrogatories and Production of
                                            19 Documents, Dkt. 254.
                                            20         Exhibit 14: June 5, 2014 Order granting in substantial part Giganews and
                                            21 Livewire’s Motion to Compel Compliance with Court Order (Dkt. 223), Responses
                                            22 to Interrogatories and Production of Documents, Dkt. 311.
                                            23         Exhibit 15: June 23, 2014 Order granting in substantial part Giganews’
                                            24 Motion to Compel Responses to Interrogatories, Dkt. 326.
                                            25         Exhibit 16: July 15, 2014 Order denying Perfect 10’s Motion for Sanctions,
                                            26 Dkt. 343.
                                            27         Exhibit 17: October 31, 2014 Order granting Giganews and Livewire’s
                                            28 Daubert Motion to Exclude Expert Tygar, Dkt. 580.
                                                 PLAINTIFFS’ REQUEST FOR                   2         CASE NO. 2:17-CV-05075-AB (JPR)
                                                 JUDICIAL NOTICE
                                          Case 2:17-cv-05075-AB-JPR Document 104 Filed 11/06/18 Page 4 of 5 Page ID #:4175



                                             1         Exhibit 18: October 31, 2014 Order granting Giganews and Livewire’s
                                             2 Daubert Motion to Exclude Expert Waterman, Dkt. 581.
                                             3         Exhibit 19: October 31, 2014 Order granting Giganews and Livewire’s
                                             4 Daubert Motion to Exclude Expert Zada, Dkt. 582.
                                             5         Exhibit 20: November 14, 2014 Order granting Giganews and Livewire’s
                                             6 Motion for Partial Summary Judgment re Direct Copyright Infringement and
                                             7 Denying as Moot Plaintiff’s Motion for Partial Summary Judgment, Dkt. 619.
                                             8         Exhibit 21: November 14, 2014 Order granting Giganews’ Motion for
                                             9 Partial Summary Judgment re Indirect Copyright Infringement and Denying as
                                            10 Moot Plaintiff’s Motion for Partial Summary Judgment, Dkt. 620.
                                            11         Exhibit 22: November 14, 2014 Order denying the parties’ remaining
                                            12 Motions for Partial Summary Judgment as Moot, Dkt. 621.
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                                            13         Exhibit 23: December 1, 2014 Judgment in Favor of Giganews and
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                                            14 Livewire, Dkt. 628.
                                            15         Exhibit 24: February 5, 2015 Further Interim Findings re Giganews and
                                            16 Livewire’s Motion for Sanctions, Dkt. 676.
                                            17         Exhibit 25: March 24, 2015 Order granting Giganews and Livewire’s
                                            18 Motion for Attorneys’ Fees and Costs, Dkt. 684.
                                            19         Exhibit 26: March 24, 2015 Amended Order granting Giganews and
                                            20 Livewire’s Motion for Attorneys’ Fees and Costs, Dkt. 686.
                                            21         Exhibit 27: May 7, 2015 Order denying Giganews and Livewire’s Motion
                                            22 for Review of the Magistrate Judge’s Order Denying their Motion for Discovery
                                            23 Sanctions, Dkt. 712.
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                                                 PLAINTIFFS’ REQUEST FOR                3         CASE NO. 2:17-CV-05075-AB (JPR)
                                                 JUDICIAL NOTICE
                                          Case 2:17-cv-05075-AB-JPR Document 104 Filed 11/06/18 Page 5 of 5 Page ID #:4176



                                             1 Dated: November 6, 2018            FENWICK & WEST LLP
                                             2
                                             3                                    By: /s/Todd Gregorian
                                             4                                        Todd R. Gregorian

                                             5                                    Attorneys for Plaintiffs/Judgment Creditors,
                                             6                                    GIGANEWS, INC., and LIVEWIRE
                                                                                  SERVICES, INC.
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                                                 PLAINTIFFS’ REQUEST FOR               4        CASE NO. 2:17-CV-05075-AB (JPR)
                                                 JUDICIAL NOTICE
